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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Minnesota State College Student                       File No. 22-cv-00771 (ECT/ECW)
Association, Inc., d/b/a LeadMN,

              Plaintiff,

v.                                                                 ORDER

Jay Cowles, Rudy Rodriguez, Asani Ajogun,
Victor Ayemobuwa, Alex Cirillo, Dawn
Erlandson, Jerry Janezich, Roger Moe,
Javier Morillo, April Nishimura, Oballa
Oballa, Kathy Sheran, George Soule, Cheryl
Tefer, and Michael Vekich, in their official
capacities as Trustee Members of the Board
of Minnesota State Colleges and
Universities,

           Defendants.
________________________________________________________________________

       This matter is before the Court on the parties’ Stipulation Regarding Supplementing

Factual Record on Plaintiff’s Motion for Preliminary Injunction [ECF No. 31]. Plaintiff’s

motion for a preliminary injunction [ECF No. 14] is pending, as is Defendants’ motion to

dismiss [ECF No. 8]. Having reviewed the Stipulation, and based upon all of the files,

records, and proceedings in the above-captioned matter, IT IS ORDERED THAT:

       1.     The exhibits addressed in the parties’ Stipulation, Exhibits O–S, may be filed

and are accepted as part of the factual record on Plaintiff’s Motion for Preliminary

Injunction;

       2.     Plaintiff may file a memorandum of law on or before 5:00 p.m. on July 1,

2022, that (1) describes the portions of Exhibits O–S that Plaintiff believes are relevant to
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the motion for preliminary injunction and (2) addresses why these exhibits are relevant to

the motion for preliminary injunction;

       3.      Defendants may, but are not required to, file a responsive memorandum of

law, limited to responding to Plaintiff’s memorandum described above, on or before July

8, 2022; and

       4.      The memoranda described above may not exceed 2,000 words and must

comply in all other respects L.R. 7.1(f).


Dated: July 1, 2022                         s/ Eric C. Tostrud
                                            Eric C. Tostrud
                                            United States District Court




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